          Case 1:17-cv-10029-LGS Document 281 Filed 11/09/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 TIBOR KISS,                                                  :
                                              Plaintiff,      :       17 Civ. 10029 (LGS)
                                                              :
                            -against-                         :            ORDER
                                                              :
 CLINTON GREEN NORTH, LLC et al.,                             :
                                              Defendants. :
 ------------------------------------------------------------ X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order, dated November 2, 2020 (Dkt. No. 274), directed the parties to

(1) specify the videoconferencing technology they intend to use for remote witness testimony at

trial and (2) specify in the joint final pre-trial order which witnesses will appear remotely.

        WHEREAS, the parties have not specified the videoconferencing technology they intend

to use at trial and have not stated which witnesses will appear remotely. It is hereby

        ORDERED that the parties shall meet and confer and shall: (1) by November 10, 2020,

file a joint letter describing the videoconferencing technology they intend to use for witness

testimony at trial (the “Videoconferencing Technology”), as well as a proposed plan regarding

the logistics of the Videoconferencing Technology; (2) by November 13, 2020, file a joint letter

identifying which witnesses will testify via the Videoconferencing Technology; (3) by

November 13, 2020, contact Courtroom Deputy James Street at (212) 805-4553 to schedule a

walkthrough of the Videoconferencing Technology and (4) by November 17, 2020, conduct

such walkthrough. It is further

        ORDERED that the Final Pre-Trial Conference scheduled for November 19, 2020, will

be conducted using the Videoconferencing Technology, and by November 17, 2020, the parties

shall file a letter setting forth the logistics of such conference.
         Case 1:17-cv-10029-LGS Document 281 Filed 11/09/20 Page 2 of 2




       The parties are reminded that failure to comply with Court-ordered deadlines may result

in sanctions or prejudice.


Dated: November 9, 2020
       New York, New York
